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                             UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF KENTUCKY
                                    AT LOUISVILLE


UNITED STATES OF AMERICA                                                                PLAINTIFF


v.                                                       CRIMINAL ACTION NO. 3:08CR-119-S


ROBERT FELNER                                                                        DEFENDANT


                                  MEMORANDUM OPINION


       This matter came before the court for an evidentiary hearing on the motion of the defendant,

Robert Felner, to suppress statements made during a June 20, 2008 interview at the University of

Louisville College of Education and Human Development (“CEHD”)(DN 29). On March 25, 2009,

the court heard evidence on this motion. The parties were then given an opportunity to file post-

hearing briefs. The matter now stands submitted for decision.

       Felner is under indictment with co-defendant Thomas Schroeder on various counts of mail

fraud, money laundering, and tax evasion. On June 20, 2008, an investigation was underway into

various activities involving certain grant funds received by the defendants. In furtherance of this

investigation, University of Louisville detective Jeffrey Glenn Jewell and United States Postal

Inspector Howard Jason Tatum (hereinafter “Jewell,” “Tatum,” and collectively, “ the agents”)

obtained a search warrant for the dean’s suite of offices at the CEHD. In conjunction with the

execution of the search warrant, the agents interviewed Felner.           The entire process took

approximately six hours. Felner takes issue with the manner in which the interview and search were

conducted. He urges the court to find that Felner was subject to a custodial interrogation due to the

manner and duration of the interview. He contends that Felner should therefore have received the

Miranda warning prior to the taking of any statement from him. He further contends that he invoked
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his right to counsel, and that the invocation of the right was not respected by the agents. We will

take these issues in turn.

        A person taken into custody or otherwise deprived of his freedom of movement in a

significant way must be warned prior to any questioning that he has a right to remain silent and that

he has the right to the presence of an attorney. Miranda v. Arizona, 384 U.S. 436, 478-79, 86 S.Ct.

1602, 1630, 16 L.Ed.2d 694 (1966). An individual in custody who has expressed the desire to have

an attorney present cannot be questioned further until one is made available to him. Smith v. Illinois,

469 U.S. 91, 94-95, 105 S.Ct. 490, 492, 83 L.Ed.2d 488 (1984). Statements taken in violation of

these rules are inadmissible at trial. Id.

        First, we conclude that the interview of Felner on June 20, 2008 did not constitute a custodial

interrogation.

        The agents arrived at the CEHD building at approximately 10:15 am, during normal business

hours for the School of Education. Both Jewell and Tatum were dressed in plain clothes. They were

both armed, but no firearms were visible. The agents entered the lobby of the dean’s suite and asked

the receptionist if they could speak with Felner. The receptionist contacted Felner’s administrative

assistant, Becky Newton, who came to the lobby and informed them that Felner was in a meeting.

She asked whether this was an important matter, to which Jewell replied that it was. Felner then

came to the lobby and escorted the agents to a conference room within the dean’s suite. This

conference room, denoted Room 124D, was where the interview took place and where Felner

remained for the majority of the time while the search was being conducted.

        The conference room itself was approximately 300 square feet in size with a large table and

10 to 12 chairs. There were two doors to the conference room – an exterior door leading into a

hallway outside the dean’s suite, and an interior door into the dean’s suite. The doors were closed

during the interview. The door leading to the receptionist’s area was not locked.



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           At the outset, Jewell advised Felner that they were there to speak to him concerning his

impending departure from the University,1 and various requests for expenditures of grant money that

he had recently submitted. Felner was not initially advised that there was a criminal investigation

in progress or that a search warrant for the dean’s suite of offices would be conducted that day. He

was also not advised that the interview was being recorded by a concealed tape recorder in Jewell’s

briefcase.

           The agents began the interview with Felner at approximately 10:15 am. Jewell sat at the

head of the table, with Tatum and Felner sitting on each side across from one another. For the first

hour and forty-five minutes of the interview, Felner left the conference room a number of times

while offering information in response to Jewell’s questions. In one instance he went to his office

to retrieve a laptop. Later, when he was unable to access a wireless internet connection in the

conference room, Felner and the agents went to the receptionist’s desk so that Felner could show

the agents a website. During the first almost two hours of their meeting, Felner appeared to the

agents to be animated, in charge, and willing to assist them.

           After approximately an hour and twenty minutes of discussion, Jewell revealed that Thomas

Schroeder, Felner’s associate and the principal of the nonprofit National Center on Public Education

and Prevention in Rock Island, Illinois,2 was being served with a subpoena for documents relating

to a criminal investigation into the use of grant funds. When this was revealed, Felner stated

“Should I get a lawyer?” to which Jewell responds that he was not trying to “trip [Felner] up,” and

that he was merely “seeking the truth.”

           Approximately an hour and forty-five minutes into the interview, Jewell requested that

interim dean Haselton come to the conference room. Felner and Haselton were both advised that


           1
            Felner was leaving U of L. Waring Blake Haselton had been appointed interim dean. He began in this capacity on July
1, 2008.

           2
            It is alleged in the indictment that this nonprofit entity was used by the defendants to divert grant funds.

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the dean’s suite, the research suite and the computing resources areas of the building would be

searched pursuant to a search warrant obtained in connection with the investigation. Felner was

advised that he was not under arrest. Jewell explained that in conducting the search, the agents

would be taking charge of these areas of the building. At all times after the search began, the

activities of the people on the premises were monitored, and people were escorted to and from the

various areas as necessary. Felner was among those escorted to and from the restroom, to obtain a

soft drink, to go to his office and his vehicle. At no time did Felner ask if he was free to leave the

campus, and that information was not volunteered to him by the agents. There were approximately

sixteen agents involved in the execution of the search warrant. During the short time that Haselton

was in the conference room with Felner and the agents, Felner appeared to Haselton to be confident

and having no trouble answering questions.

       During the remaining hours until the search was concluded, Jewell continued to ask Felner

questions, but there were also extended periods of time where the agents and Felner simply waited

for the search to be concluded.

       Jewell began to reveal that the questions he was posing to Felner were in the context of an

ongoing investigation. He indicated that he was concerned whether Felner was being truthful. He

told Felner that he had ordered Felner’s IRS records, that accepting responsibility was important,

that he could “help [Felner] out,” and that he should be careful not to lie. As Jewell volunteered

more information about the criminal investigation, indicating that he had a great deal of information

about Felner’s activities, Felner began asking whether he was going to be charged, whether he could

go to jail, and he indicated that he knew he was “in some trouble.” He was told by the agents that

they would not be arresting him, and that any decisions about charging him with a crime would be

made by the United States Attorney’s Office. He asked a number of times whether he should hire

a lawyer. He was told that it was his decision and that the agents could not advise him one way or

the other on that matter.

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       At approximately 4:30 pm, Jewell told Felner that a simultaneous interview was being

conducted of Thomas Schroeder in Illinois and that Schroeder’s version of the facts was not backing

up Felner’s story. He was told that Schroeder denied any knowledge or involvement in the matters

under investigation. Felner responded that he felt like he was being “thrown under a bus,” and made

an unequivocal request for a lawyer. Jewell immediately responded that he appreciated Felner’s

cooperation, and Jewell then attempted to find him a phonebook. Unable to locate one, he called

his office to have someone look up the phone number of the law firm Felner wished to contact. This

occurred almost simultaneously with the conclusion by the other agents of the search. The inventory

paperwork was brought to Jewell and he conducted an “exit interview” of Felner. During the exit

interview, Felner acknowledged that:

       (1) he was told from the outset and repeatedly that he was not under arrest;

       (2) he had agreed to sit down and talk with the agents;

       (3) he was not threatened or coerced, but he found the “situation” stressful;

       (4) the encounter was lengthy, but he was permitted to get a drink, use the restroom, look for

computers, and go to his vehicle;

       (5) he was treated “nicely;”

       (6) when he requested an attorney, he was permitted to attempt to contact one; and

       (7) he did not know that he could get up and leave; he assumed that he could not since he

was escorted everywhere, but he was told that he was not under arrest and he did not ask whether

he could leave.

       A “custodial interrogation” has been defined as “questioning initiated by law enforcement

officers after a person has been taken into custody or otherwise deprived of his freedom of action

in a significant way.” United States v. Salvo, 133 F.3d 943, 948 (6th Cir.), cert. denied, 118 S.Ct.

1805 (1998), quoting, Oregon v. Mathiason, 429 U.S. 492, 494, 97 S.Ct. 711. 50 L.Ed.2d 714

(1977). In determining whether Felner was subject to a custodial interrogation we must consider

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the totality of the circumstances “to determine how a reasonable man in the suspect’s position would

have understood the situation.” United States v. Crossley, 224 F.3d 847, 861 (6th Cir. 2000),

quoting, Oregon v. Mathiason, 97 S.Ct. 711 (1977). Felner was not arrested nor taken into physical

custody. There is no question that there was no show of weapons or force, handcuffs, locked doors

or the like. Therefore, the court must determine whether Felner was deprived of his freedom of

action in a significant way. In so doing, we consider whether a reasonable person in that situation

would have believed he was free to terminate the interrogation and leave. Various factors to be

considered in this assessment include:

       (1) the purpose of the questioning;

       (2) whether the place of the questioning was hostile or coercive;

       (3) the length of the questioning;

       (4) whether the suspect was informed at the time that the questioning was voluntary, or that

he was free to leave or to request the officers to do so;

       (5) whether the suspect possessed unrestrained freedom of movement during questioning;

       (6) whether the suspect initiated contact with the police or voluntarily admitted the officers

and acquiesced to their requests to answer some questions. Crossley, 224 F.3d at 861, quoting,

Salvo, supra.

       As in Crossley, Felner was interviewed at his place of employment during normal business

hours. Felner left a meeting to speak with the agents because he was told that it was important. He

agreed to speak with the agents and chose the place for the interview. The conference room where

the interview took place was a large room located within the dean’s suite over which Felner had

control in his capacity as dean of the School of Education. There were no weapons drawn or any

show of force at any time. He was neither handcuffed nor locked in. Felner was aware of this fact

inasmuch as he freely moved around the dean’s suite, coming and going from the conference room

prior to the commencement of the search.

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        Once the search began, Felner and others were escorted from place to place. Felner does not

contend that he was denied access to any area or that his activities were curtailed by the agents.

Felner and Haselton were fully informed as to the procedure to be employed during the execution

of the search warrant. They were both informed that the agents would be taking control of the areas

to be searched. We find this to be the case despite Felner’s statement during the exit interview that

he did not know that he could leave because he was being escorted around the premises.

        Although the entire process took approximately six hours, Felner was not being questioned

for the entire time. Rather, there were long periods of time when Felner and the agents were waiting

for the search to be concluded. The tone or tenor of the interview was neither hostile nor coercive.

Felner agreed during the exit interview that he was treated “nicely” and was not threatened or

coerced. More importantly, a reading of the transcript of the interview in its entirety paints the

picture of Felner reacting as he comes to the realization that he and Schroeder are being investigated.

His increasing anxiety does not appear to be the result of hostility or threatening behavior on the part

of the agents, but rather Felner’s own increasing discomfort after learning that he is the subject of

an ongoing criminal investigation.

       Felner makes much of the “ratcheting up of pressure,” as he describes it, by the agents. He

notes that the interview began with questions concerning recent requests for expenditures and

developed into a more expansive inquiry into Felner’s research, his relationship to Schroeder, and

his use of grant funds. He contends that when Jewell began asking pointed questions, suggesting

that he knew more than Felner thought he knew, and warning Felner not to lie, Jewell created a

coercive environment. Thus he contends that the interview amounted to a custodial interrogation.

However, stress and anxiety over questioning is not an impermissible by-product of an interview

conducted in connection with a criminal investigation. Difficult questions can reasonably be

expected to increase the anxiety level in an interview. However, this fact alone does not suggest that

the environment of such an interview is necessarily coercive or threatening. Law enforcement

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officers would be unable to effectively conduct investigations if a coercive environment were found

every time an interviewee became nervous or uncomfortable during questioning. The law does not

prohibit tough questioning, even when the questions render a suspect nervous and uncertain. The

law does not require agents to befriend suspects. What is prohibited is threatening, coercive, hostile

behavior, none of which we find here.

       Additionally, we note that the presence of a large number of agents at the scene and the

monitoring of the movements of those present during the execution of the search warrant do not

establish that the interview occurred in a “police dominated” atmosphere. In United States v. Axiom,

289 F.3d 496 (8th Cir. 2002), the court found that the presence of nine agents in a small residence

executing a search warrant did not establish a “police dominated” environment, since only two

agents conducted the interview of the suspect. The court further noted that “a reasonable person in

Axom’s shoes should have realized that the agents escorted him not to restrict his movement, but

to protect themselves and the integrity of the search.

       In this case, Jewell took the time to fully explain to Felner and Haselton about the search,

that they were going to take charge of the premises in order to conduct the search, and that they may

need to move people from place to place during the process. Jewell also clearly stated to Felner that

he was not under arrest. The fact that Felner found the “situation” to be stressful is not unexpected.

This interview was not a custodial interrogation, despite the stress Felner felt at the questions posed

to him and the discomfort in having his domain searched. Felner was not taken into custody and

his freedom of movement was not restrained in any significant way. He voluntarily spoke with the

agents in the dean’s suite of offices. He was informed that he was not under arrest on more than one

occasion. Significantly, he was so informed at the time that the search warrant process was

explained to him and he was told that the agents would be taking control of the areas to be searched.

Felner was permitted to move around at will during the entire process. Prior to the commencement

of the search, Felner went to and from the conference room unescorted, at one time going to his

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office to retrieve a laptop. He was escorted by an agent during the time the search was being

conducted, but his movement was not limited in any way. He was offered food and drink. He stated

himself on a number of occasions that he was trying to be cooperative. We conclude that a

reasonable person in Felner’s shoes would have understood that he was not in custody at the time

of the interview.

       Felner also contends that he invoked his right to counsel a number of times, but that the

interview was not terminated until his last request for counsel was finally acknowledged. A request

for counsel must be clear and unambiguous. Davis v. United States, 512 U.S. 452, 114 S.Ct. 2350,

129 L.Ed.2d 362 (1994). In Davis, the court held that “if a suspect makes a reference to an attorney

that is ambiguous or equivocal in that a reasonable officer in light of the circumstances would have

understood only that the suspect might be invoking the right to counsel, our precedents do not

require the cessation of questioning...Rather, the suspect must unambiguously request counsel.”

Davis, 114 S.Ct. at 2355. In Davis, the suspect stated “Maybe I should talk to a lawyer.” The court

found the statement to be too ambiguously worded to mandate a cessation of questioning. See also,

Ledbetter v. Edwards, 35 F.3d 1062 (6th Cir. 1994)(statement that it would be nice to have an

attorney was ambiguous).

       Felner made only one clear and unambiguous request for counsel approximately six hours

into the process. At various points Felner asked “Should I get a lawyer?”; “Do I need a lawyer?”;

“You don’t happen to know a nice attorney do you?”; and “Should I go ahead and get a

lawyer?...Am I allowed to?” None of these statements is a clear and unambiguous request for

counsel. The Supreme Court stated in Davis, supra, that

       “[W]e decline to adopt a rule requiring officers to ask clarifying questions. If the
       suspect’s statement is not an unambiguous or unequivocal request for counsel, the
       officers have no obligation to stop questioning him. To recapitulate: We held in
       Miranda that a suspect is entitled to the assistance of counsel during custodial
       interrogation even though the Constitution does not provide for such assistance. We
       held in Edwards that if the suspect invokes the right to counsel at any time, the
       police must immediately cease questioning him until an attorney is present. But we

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       are unwilling to create a third layer of prophylaxis to prevent police questioning
       when the suspect might want a lawyer. Unless the suspect actually requests an
       attorney, questioning may continue.

Davis, 114 S.Ct. at 2356-57.

       In sum, viewing the totality of the circumstances, we conclude that Felner was not subject

to a custodial interrogation. Further, he did not invoke the right to counsel until the interview was

nearly concluded. At the time he requested an attorney, no further questions were asked of him

concerning the criminal investigation, and the agents assisted him in attempting to contact counsel.

We do not find that the agents violated Felner’s rights during the interview of June 20, 2008.

Therefore, the motion to suppress statements taken on that date will be denied. A separate order will

be entered this date in accordance with this opinion.



IT IS SO ORDERED.



                June 1, 2009




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